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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,

vs.                                                          Cr. No. 10-20194-Ma

WILLIAM HARNESS,

                      Defendant.


                DEFENDANT’S MOTION TO CONTINUE REPORT DATE


        COMES NOW the defendant, William Harness, through appointed counsel, and

respectfully moves this Honorable Court to continue the report date currently set for Friday,

February 25, 2011 at 2:00 p.m. Counsel would ask that the hearing be continued for thirty (30)

days. In support thereof, undersigned counsel has been negotiating a plea agreement with the

government, recently received a draft copy of the government’s proposal, and sent a copy to

defendant, who lives in Nashville, Tennessee. Defendant would like additional time to discuss a

plea to the proposed agreement and its ramifications with counsel. Counsel contacted Assistant

United States Attorney, Joe Murphy, concerning this request, and he has no objections.

        WHEREFORE, PREMISES CONSIDERED, defendant respectfully moves this

Honorable Court to grant the motion and continue the report date in this matter for thirty (30)

days.




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                                           Respectfully submitted,

                                           STEPHEN B. SHANKMAN
                                           FEDERAL DEFENDER

                                           s/ DAVID M. BELL
                                           Assistant Federal Defender
                                           200 Jefferson Avenue, Suite 200
                                           Memphis, TN 38103
                                           (901) 544-3895


                                CERTIFICATE OF SERVICE

       Undersigned hereby certifies that a true copy of the foregoing Defendant’s Motion to

Continue Report Date was forwarded by electronic means via the Court’s electronic filing system

to Joe Murphy, Assistant U.S. Attorney, 167 N. Main, Suite 800, Memphis, TN 38103.

       This 22nd day of February, 2011.

                                           s/ DAVID M. BELL
                                           Assistant Federal Defender




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